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 7
 8                              UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   1:11-CR-00374-LJO
                                             )
12                  Plaintiff,               )   PRELIMINARY ORDER OF
                                             )   FORFEITURE
13          v.                               )
                                             )
14   ISIDRO FREDIS HERNANDEZ,                )
                                             )
15                  Defendant.               )
                                             )
16                                           )
17          Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Isidro Fredis Hernandez,
19   it is hereby
20          ORDERED, ADJUDGED, AND DECREED as follows:
21          1.      Pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(6)and 28
22   U.S.C. § 2461, defendant Isidro Fredis Hernandez’ interests in
23   the following property shall be condemned and forfeited to the
24   United States of America, to be disposed of according to law:
25                  a.     HP Pavilion Laptop Computer;
26                  b.     HP Mini Laptop 210;
27                  c.     HP Photo Smart Printer;
28                  d.     HP Photosmart Plus Printer;



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 1                  e.     Cannon Image Class Photo Printer;
 2                  f.     Compaq Presario Desktop Computer;
 3                  g.     Compaq Presario Mid-tower;
 4                  h.     Attache 1GB Thumbdrive;
 5                  i.     Ativa Thumbdrive;
 6                  j.     SanDisk 4 GB Memory Card;
 7                  k.     SanDisk 2GB thumbdrive;
 8                  l.     SanDisk 32MB Memory Card;
 9                  m.     SanDisk 256 MB Memory Card;
10                  n.     SanDisk 2GB Mini SD Memory Card;
11                  o.     SanDisk 2GB Cruzer Thumbdrive.
12                  p.     SanDisk 128MB SD Memory Card;
13                  q.     SanDisk 2GB Micro SD Memory Card
14                  r.     Samsung Computer Monitor
15                  s.     1 Multiple Drive DVD Duplicator;
16                  t.     Sony VIAO Laptop Computer;
17                  u.     Sony 4GB SD HC Memory Card;
18                  v.     Micro SD 2GB Memory Card;
19                  w.     Black and Silver Thumbdrive;
20                  x.     1 GB Data Traveler Thumbdrive;
21                  y.     GBS Creative Laminator;
22                  z.     Fargo Pro LX ID Card Printer/Laminator;
23                  aa.    2 Bags Containing Card Making Supplies;
24                  bb.    2 Paper Cutters; and
25                  cc.    Approximately $8,572.00 in United States
                           Currency.
26
27          2.      The above-listed property constitutes property used, and
28   intended to be used, in any manner or part, to commit and to



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 1   facilitate, and are proceeds derived from the commission of a
 2   violation of 18 U.S.C. § 371.
 3          3.    Pursuant to Rule 32.2(b), the Attorney General (or a
 4   designee) shall be authorized to seize the above-listed property.
 5   The aforementioned property shall be seized and held by the
 6   Department of Homeland Security, Customs and Border
 7   Protection/Immigration and Customs Enforcement, in its secure
 8   custody and control.
 9          4.    a.     Pursuant to 18 U.S.C § 982(b)(1), 28 U.S.C. § 2461,
10   incorporating 21 U.S.C. § 853(n), and Local Rule 171, the United
11   States shall publish notice of the order of forfeiture.             Notice
12   of this Order and notice of the Attorney General’s (or a
13   designee’s) intent to dispose of the property in such manner as
14   the Attorney General may direct shall be posted for at least 30
15   consecutive days on the official internet government forfeiture
16   site www.forfeiture.gov.          The United States may also, to the
17   extent practicable, provide direct written notice to any person
18   known to have alleged an interest in the property that is the
19   subject of the order of forfeiture as a substitute for published
20   notice as to those persons so notified.
21                  b.     This notice shall state that any person, other than
22   the defendants, asserting a legal interest in the above-listed
23   property, must file a petition with the Court within sixty (60)
24   days from the first day of publication of the Notice of Forfeiture
25   posted on the official government forfeiture site, or within thirty
26   (30) days from receipt of direct written notice, whichever is
27   earlier.
28          5.      If a petition is timely filed, upon adjudication of all



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 1   third-party interests, if any, this Court will enter a Final
 2   Order of Forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(C),
 3   982(a)(6)and 28 U.S.C. § 2461 in which all interests will be
 4   addressed.
 5            IT IS SO ORDERED.
 6   Dated:     May 1, 2012                  /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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